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     EXHIBIT A
Outlook.com Print Message                                                                      8/13/14, 5:46 PM
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  From: Fulton, Janelle E.(JFulton@rubinfortunato.com)
  Sent: Mon 3/31/ 14 4:08 PM
  To:   pryanbray@msn.com

  Hi Ryan,

  We cannot agree to you attaching documents produced by Merrill Lynch in the FINRA proceeding. As an
  initial matter, at the motion to dismiss stage, a court cannot consider any documents outside the pleadings
  unless the documents are publicly available. Second, and more importantly, documents produced by
  Merrill Lynch in the FINRA matter are subject to both the confidentiality agreement you (or your lawyers)
  entered into with Merrill Lynch and FINRA's position that its proceedings are confidential.

  If the case proceeds beyond the motion to dismiss stage, I think both parties will want to use materials
  from the FINRA matter, and I expect that we will have to use the federal court's subpoena power to do so.

  Best regards,

  Janelle

  Janelle E. Fulton
  Rubin, Fortunato & Harbison P.C.
  10 South Leopard Road IPaoli, PA i9301
  V610-408.2038 (Office) I V215.26+7634 (Mobile)
  7610.854.1860 (Fax) lwww.rubinfortunato.com

  From: PRyanBray [mailto:pryanbray@msn.com]
  Sent: Monday, March 31, 2014 10:35 AM
  To: Fulton, Janelle E.
  Subject: Proceedings

  Hi Janelle

  I wanted to get confirmation from you that in my response to your motions you will not have issue with me
  using documents and emails provided by you for the arbitration, that were used, in my exhibits for the
  court.

  Thanks

  Ryan




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